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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                              CASE NO. CR20-0137-JCC
10                             Plaintiff,                   ORDER
11          v.

12   GONZALO VILLASENOR, et al.,

13                             Defendants.
14

15          This matter comes before the Court on Defendant Francisco Javier Carrillo’s
16   (“Defendant”) Motion to Continue Trial and Pretrial Motion Deadlines. (Dkt. No. 243.) The
17   Government does not oppose a continuance, nor do any other Defendants (save Shepherd, who
18   has not responded). (Dkt. No. 247 at 1–2.) Per the Government, Defendants Villasenor, Leyva-
19   Castellanos, Pollestad, Supnet, McGee, and Campos Pantoja plan to file speedy trial waivers, as
20   does Defendant. (Dkt. Nos. 247 at 2, 243 at 3.) Having considered Defendant’s motion and the
21   relevant record, the Court GRANTS the motion for the reasons explained below.
22          Trial in this case is currently set for December 6, 2021, with pretrial motions due October
23   14, 2021. (Dkt. No. 215.) Defendant’s counsel indicates that a continuance is necessary so he can
24   review voluminous discovery and effectively represent his client. (See Dkt. No. 243 at 2.)
25          This case is related to two others, United States v. Rodriguez-Moreno, CR20-0136-JCC
26   and United States v. Lerma-Jaras, CR20-0146-JCC, which collectively involve more than 20


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 1   defendants and, allegedly, multiple conspiracies to distribute controlled substances. See

 2   Rodriguez-Moreno, CR20-0136-JCC, Dkt. No. 107 at 2 (W.D. Wash. 2020). The Government’s

 3   investigation involved hundreds of hours of surveillance, wiretaps of multiple cell phones, more

 4   than a dozen controlled buys, at least ten multi-kilo seizures of controlled substances, and

 5   searches of several vehicles, residences, and businesses. (Id.) The Government has already

 6   produced over 10,000 pages of discovery, much of which is in Spanish, which requires defense

 7   counsel to work with interpreters. (Id. at 3.)

 8          Trial in these two related cases has already been continued to May 31, 2022. Rodriguez-
 9   Moreno, CR20-0136-JCC, Dkt. No. 149 (W.D. Wash. 2021); Lerma-Jaras, CR20-0146-JCC,
10   Dkt. No. 76 (W.D. Wash. 2021).
11          Having thoroughly considered the briefing and the relevant record, the Court FINDS that
12   the ends of justice served by granting a continuance outweigh the best interests of Defendants
13   and the public to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this finding are:
14          1.       In light of the number of defendants involved, the Government’s allegation of
15   multiple conspiracies, the volume of evidence, and the need for translation, this case is so
16   complex that it is unreasonable to expect adequate preparation for pretrial motions and trial
17   within the current deadlines. See 18 U.S.C. § 3161(h)(7)(B)(ii).
18          2.       Failure to grant a continuance would likely result in a miscarriage of justice. See

19   18 U.S.C. § 3161(h)(7)(B)(i).

20          The Court also holds that the duration of this continuance should be excluded from the

21   Speedy Trial calculations of Mr. Carrillo’s remaining co-defendants because it is “a reasonable

22   period of delay” within the meaning of 18 U.S.C. § 3161(h)(6). See also United States v. Messer,

23   197 F.3d 330, 336–37 (9th Cir. 1999).

24          Accordingly, the Court ORDERS:

25          1.       Defendant’s motion (Dkt. No. 243) is GRANTED.

26          2.       The November 8, 2021 jury trial is CONTINUED to June 20, 2022.


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 1          3.       The pretrial motions deadline is CONTINUED until May 16, 2022.

 2          4.       The period from the date of this order until June 20, 2022 is an excludable period

 3   under 18 U.S.C. § 3161(h)(7)(A) and, with respect to Mr. Carrillo’s remaining co-defendants,

 4   under 18 U.S.C. § 3161(h)(6).

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 6          DATED this 15th day of October 2021.




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                                                          John C. Coughenour
10                                                        UNITED STATES DISTRICT JUDGE
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